                 Case: 3:18-cr-00139-wmc Document #: 46 Filed: 03/14/19 Page 1 of 1
                                  COURTROOM MINUTES
                               ARRAIGNMENT/PLEA HEARING
        3/13/2019
DATE:_____________           Wednesday
                      DAY:_______________                  2:11 PM
                                             START TIME:_____________              2:34 PM
                                                                      END TIME:_______________
             WMC
JUDGE/MAG.:____________________              ARW
                                     CLERK:____________________            JD
                                                                REPORTER:____________________
                    Mariah Johnson
PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
              18-cr-139-wmc-01
CASE NUMBER:_________________                            Johnell Britt
                                     CASE NAME: USA v. ________________________________________
APPEARANCES:
                  Rita Rumbelow
ASST. U.S. ATTY.:_________________________                          William Jones
                                                  DEFENDANT ATTY.:_____________________________
                 _________________________                           _____________________________
                                                  DEFENDANT PRESENT: YES          NO
OFFENSE INFORMATION:
                               1
MAXIMUM PENALTY: CT(S) _______________;        20
                                        _______________                           250,000
                                                        YR(S) IMPRISONMENT; $________________ FINE;
    3
_________ YEAR(S) SUPERVISED RELEASE;         100
                                        $_____________  SPECIAL ASSESSMENT;           RESTITUTION.
                    20
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                    DEFENDANT SWORN
        NOT GUILTY                PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________        TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________        MOTIONS DUE:____________________
   FPTC:              _________________________      FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
                              4/30/2019
   PRESENTENCE REPORT DUE:________________                              5/14/2019
                                                     OBJECTIONS DUE:_______________
                   6/4/2019
   SENTENCING :_______________       1:00 PM
                               at ____________
RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
NOTES:
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                         23"
                                                                    TOTAL COURT TIME:__________
